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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


DIXON ROSALES                                     )
                                                  )           CIVIL ACTION NO.
                                                  )
Versus                                            )           JUDGE
                                                  )
                                                  )           MAGISTRATE JUDGE
RICH’S CAR WASH, LLC                              )

                                    NOTICE OF REMOVAL

         NOW INTO COURT, by undersigned counsel, comes defendant, Rich’s Car Wash, LLC

(“Rich’s”), and removes this action to this Court pursuant to 28 U.S.C. §§ 1332, 1441(b), and

1446, alleging as follows:

         1.    On or about March 1, 2018, plaintiff filed a “Petition for Damages” against Rich’s

(“the Petition”) captioned “Dixon Rosales versus Rich’s Car Wash, LLC,” in Civil District Court

for the Parish of Orleans, State of Louisiana. A copy of the Petition is attached as Exhibit “A” to

this Notice.

         2.    Rich’s was served with a copy of the Petition on March 13, 2018. This Notice of

Removal is timely filed within thirty (30) days after service of the Petition.

         3.    In his Petition, plaintiff claims a purported violation of the Telephone Consumer

Protection Act of 1991, 47 U.S.C. § 227 (“the TCPA”).

         4.    The Court has original jurisdiction of plaintiff’s purported claims under the TCPA

pursuant to 28 U.S.C. § 1332, and has supplemental jurisdiction of plaintiff’s other purported

claims under the Louisiana Unfair Trade Practices Act pursuant to 28 U.S.C. § 1367.

         5.    Plaintiff originally filed suit in Civil District Court for Orleans Parish, such that

venue is proper in this Court pursuant to 28 U.S.C. § 1441(a).
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       WHEREFORE defendant, Rich’s Car Wash, LLC, respectfully removes this action to this

Court for further proceedings, pursuant to 28 U.S.C. § 1441(b).

                                             Respectfully submitted,

                                                     / Stephen T. Perkins /
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                                             Attorneys for Rich’s Car Wash, LLC


                                CERTIFICATE OF SERVICE

       I certify that on March 22, 2018, a copy of this Notice was sent to plaintiff’s counsel by

electronic mail and by facsimile transmission, as follows:

                              Roberto Luis Costales, Esquire
                              William H. Beaumont, Esquire
                              Jonathan M. Kirkland, Esquire
                              BEAUMONT COSTALES LLC
                              3801 Canal Street, Suite 207
                              New Orleans, Louisiana 70119
                              Fax 1.504.272.2956;
                              whb@beaumontcostales.com;
                              jmk@beaumontcostales.com.

The Notice itself was filed electronically with the Clerk of Court using the CM/ECF system.

Notice of this filing will also be sent to all counsel of record by operation of the Court’s

electronic filing system.


                                                 / Stephen T. Perkins /
                                             TAYLOR, WELLONS, POLITZ & DUHE, APLC



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